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                                                                 UNITED STATES DISTRICT CouR                                                     u.s.
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                                  thiited States of America

                                                                                                             Case No.              f: 2.0- $4                                 21' Z       /P%7t1

                                       RICARDO ORTIZ



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                                                                             CRiMINAL COMPLAINT
                 I. the complainant in this case, state that the tot too. ini is true to the best o m                                    ktios ledce and bet ict
On or about the date(s) of                                                July 30, 2020                      in the counts nt                         El Paso                         in the
              Western                    [)istrict of                      Texas             .   the   detndant(s) ' inlated:
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Title 18 USC 2251(a) and 2252(a)                                            Production and Possession of Child Pornography
(4)(B)




                This criminal complaint is based oji                           thsc foct:
See attached affidavit.




                cf       Continued on the attached sheet.


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                                 F.dR.Xd.P.
                                                                                                                    LAURA M. CONKLIN, FBI SPECIAL AGENT
                                                                                                                                      / 'riii/.'uI UhI?k'     (i,iuI Il//u'

Sworn to before                       iian tin3 in ni prece.

Date:                            07/3012020
                                                                                                                                'jg4              S   ll,'lllIlllt'




City and state:                                                     El Paso, Texas                              MIGUEL A. TORRES. U.S MAGISTRATE JUDGE
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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

                    AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
1,Special Agent ("SA") Laura M. Conklin, herein afler "Affiant," being duly sworn do hereby
depose and state:
     1.   Affiant is a SA with the Federal Bureau of Investigation ("FBI") assigned to the El Paso
           Division. Affiant has been employed with the FBI as an SA since February 2019, and is
          currently assigned to a squad that investigates child exploitation and human trafficking
          crimes, and is responsible for investigations involving the production, importation,
          advertising, receipt, and distribution of child pornography which occur in the Western
          District of Texas. In addition, Affiant is responsible for various child exploitation
          investigations, to include but not limited to: child prostitution, online solicitation of
          minors; receipt, distribution, and production of child pornography, and enticement of
          minors. The statements contained in this Affidavit are based on Affiant's experience,
          background as a SA, and on information provided by other law enforcement officers
          ("Investigators").
     2.   The information contained herein is based upon Affiant's investigation as well as
          information supplied by other Investigators. Your Affiant has not included all facts
          known concerning this matter, but only facts necessary to set forth probable cause.
     3.   On July 19, 2020, Ricardo Ortiz was arrested by the FBI for attempting to persuade,
          entice, or coerce an individual who had not attained the age of 18 years, to engage in
          sexual activity, in violation of Title 18, United States Code Section 2422(b) Coercion and
          Enticement.
     4.   During a mirandized interview of Ortiz on July 19, 2020, Ortiz agreed to speak with
          Investigators without an attorney present. An audio/video recorded interview was
          performed wherein Ortiz admitted that he engaged in sexually explicit conversations with
          an FBI Online Covert Employee (OCE), who he knew to be a 14-year-old male, and went
          to the OCE's residence for the purpose of engaging in sexual activity. Ortiz provided
          written consent for FBI Agents to search the telephone on his person at the time of his
          arrest, an iPhone 11 Pro Max (iPhone), in which Ortiz indicated he was the sole user of
          the iPhone. The iPhone was manufactured outside of the state of Texas.
     5.   On July 23, 2020, a Preliminary and Detention Hearing was held for Ortiz, wherein
          probable cause for his arrest was judicially confirmed. Ortiz was subsequently released
          on a $40,000 USD bond.
     6.   On July 29, 2020, cursory review of Ortiz' cellular device, the iPhone, revealed the
          following:
              a. More than twenty videos depicting suspected child sexual abuse material
                   (CSAM). Two of the videos are described below as examples:
                       i. A two minute and forty-six second video depicting a completely nude pre-
                          pubescent male approximately six to eight years of age, performing oral
                          sex on what appeared to be an adult male.
                      ii. An eight minute and twenty second video titled "11 yo Naked Boy Ass
                          Fucked By His Man", depicting a completely naked pre-pubescent male
              Case 3:20-cr-01808-FM Document 1 Filed 07/30/20 Page 3 of 3




                               approx niatel eieht to ten eIr\ ni age. on is hands and knees nfl a bed
                               being anall\ penetrated b v hat appeared to be an adult male penis.
                  b    Afliant observed more than Ili completel\ nude photographs of an indk dna
                       Aftiant has identified as a no I 7- ear-old male. hereinafter Victini At the        .

                       time the photoeraphs crc taken, the Victim as (- ears old and kno n to
                       reside in the \Vesteni l)istrict nil exas. \lan of the photographs depict the
                       Victim masturbat     ii.
                  c    .'\i'liant also obser ed more than t\\ ent recorded ' ideos that appear to he a den
                       chat het een Ortit and the Victim. in hich Orti/ can he seen in a small ' indo
                       in the corner of the screen and the Victim can be seen on the main port ion of [lie
                       screen. The videos depict Otti, and the Victim masturhat ing and perlarni ing
                       various sexual acts on themsel es. lased on the placement of Orli, and the
                       \' ictim in the videos. It appeared ( )rl ii used a screen recorder application to
                       record the ideo chats.
                  d.    Ihese ' ideos. photos. and      sa ed   screensliots chats suggest an ongoing sexual
                       relationship   heL   ecu   Ortit and   the Vie tim

         7.   There is reason to believe, and our A Iliant does believe, there is probable cause that
              Ricardo Ortiz. committed the oIinse of production ol' clii Id pornoraph . in violation of'
              Title I 8. I. nited States (ode. Section 2251(a). and committed the offense of kiio ini.tl
              possessilig isual depictions of child poriiograpli . in iolation o               lii
                                                                                     tie I 8. I. nited States
              Code. Section 2252(a)(4 )(     J   I.




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(             Special Agent Laura M. Conklin
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